          Case 1:20-cv-00783-RP Document 114 Filed 07/20/22 Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION


HOMELAND INSURANCE COMPANY OF
NEW YORK,

       Plaintiff,                                            CIVIL ACTION NO.: 1-20-cv-783

v.

CLINICAL PATHOLOGY
LABORATORIES, INC., AND SONIC
HEALTHCARE USA, INC.,

       Defendants.


NOTICE THAT PLAINTIFF DOES NOT OPPOSE DEFENDANTS’ MOTION TO SEAL
 THE UNREDACTED VERSION OF THE TRANSCRIPT OF THE PROCEEDINGS
                       HELD ON JUNE 21, 2022

       On July 19, 2022, Defendants filed a Motion to Seal the Unredacted Version of the

Transcript of the Proceedings Held on June 21, 2022 (the “Motion”). See Dkt. 113. Counsel for

Defendants and counsel for Plaintiff have since conferred regarding the Motion, and counsel for

Plaintiff has indicated that Plaintiff is unopposed to the Motion.

                                          *      *       *
         Case 1:20-cv-00783-RP Document 114 Filed 07/20/22 Page 2 of 3




Dated: July 20, 2022


                                          Respectfully submitted,


                                          By: /s/ Greg Van Houten
                                             Ernest Martin, Jr. [Bar No. 13063300]
                                             Greg Van Houten*
                                             HAYNES AND BOONE, LLP
                                             2323 Victory Avenue, Suite 700
                                             Dallas, TX 75219
                                             214-651-5651 Direct
                                             214-651-5000 Main
                                             214-200-0519 Fax
                                             ernest.martin@haynesboone.com
                                             greg.vanhouten@haynesboone.com
                                             *Admitted Pro Hac Vice

                                             -and-

                                             Mark T. Beaman [Bar No. 01955700]
                                             Ryan Bueche [Bar. No. 24064970]
                                             GERMER BEAMAN & BROWN PLLC
                                             One Barton Skyway
                                             1501 S Mopac Expy Suite A400
                                             Austin, TX 78746
                                             512-482-3504 Direct
                                             512-472-0288 Main
                                             512-472-0721 Fax
                                             mbeaman@germer-austin.com
                                             rbueche@germer-austin.com

                                             ATTORNEYS FOR DEFENDANTS
         Case 1:20-cv-00783-RP Document 114 Filed 07/20/22 Page 3 of 3




                                CERTIFICATE OF SERVICE

        I hereby certify that, consistent with Local Court Rule CV-5, a true and correct copy of
the foregoing was sent to all parties of record via ECF and e-mail on this 20th day of July 2022.

                                                        /s/ Greg Van Houten
                                                            Greg Van Houten
